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                                                                 December 22, 2017

 BY ECF
 Honorable Sanket J. Bulsara
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

           Re:     Hamilton v. City of New York, et al., 15 CV 4574 (CBA) (SJB)

 Your Honor:

        I write to respectfully notify the Court that this firm has been retained by plaintiff
 Derrick Hamilton to serve as lead counsel in the above-referenced action. If it should
 please the Court, Mr. Hamilton has discharged the Edelstein & Grossman and Novo
 law firms.1 Mr. Brettschneider will continue his representation of Mr. Hamilton.

        We respectfully enclose for the Court’s review and endorsement Consent Orders
 Granting Substitution executed by Jonathan Edelstein and Robert Grossman. We await
 the executed Consent Order from Ms. Silverman, and will file it with the Court upon
 receipt.

       Accordingly, plaintiff respectfully requests that the Court review and endorse the
 enclosed proposed Consent Orders Granting Substitution. Thank you for your
 consideration of this request.

                                                                 Respectfully submitted,


                                                                 Gabriel P. Harvis

 Encl.
 cc:   All Counsel (by ECF)
 1
     Irving Cohen, Esq., who according to the public docket has not appeared herein, was also discharged.
